IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF PUERTO RICO

IN RE * BKRTCY. NO, 17-03864 BKT
REYNALDO LOPEZ MORALES * CHAPTER 13
DEBTOR *

 

NOTICE OF FILING OF CHAPTER 13 PLAN
AND CERTIFICATE OF SERVICE

TO THE HONORABLE COURT:

COMES NOW, REYNALDO LOPEZ MORALES, the Debtor in the above captioned
case, through the undersigned attorney and very respectfully states and prays as follows:

1.The debtor is hereby submitting Debtor's proposed Chapter 13 Plan, dated
September 05, 2017, herewith and attached to this motion.

| CERTIFY, that on this same date a copy of this Notice was filed with the Clerk of
the Court using the CM/ECF system which will send notice of same to the Chapter 13
Trustee, and all CM/ECF participants; | also certify that a copy of this notice was sent
regular mail to the debtors and to ail creditors and parties in interest appearing on the
master address list, hereby attached.

NOTICE

You are notified that within fourteen (14) days after service as evidenced by
the certification, and an additional three (3) days pursuant to Fed. R. Bank. P. 9006(f)
if you were served by mail, any party against whom this paper has
been served, or any other party to the action who objects to the relief sought herein,
shall serve and file an objection or other appropriate response to this paper with the
Clerk’s office of the U.S. Bankruptcy Court for the District of Puerto Rico. If no
objection or other response is filed within the time allowed herein, the paper will be
deemed unopposed and may be granted unless: (i) the requested relief is forbidden
by law; (ii) the requested relief is against public policy; or (iii) in the opinion of the
Court, the interest of justice requires otherwise.
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Notice of Filing Chapter 13 Plan
Case no. 17-03864 BKT13

RESPECTFULLY SUBMITTED. In San Juan, Puerto Rico, this 05" day of
September, 2017.

/s/Roberto Figueroa Carrasquillo

USDC #203614

RFIGUEROA CARRASQUILLO LAW OFFICE PSC
ATTORNEY FOR PETITIONER/DEBTOR

PO BOX 186 CAGUAS PR 00726

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United States Bankruptcy Court
District of Puerto Rico, San Juan Division

IN RE:

LOPEZ MORALES, REYNALDO
Debtor(s)

Case No, 3:17-bk-3864
_ Chapter 43

CHAPTER 13 PAYMENT PLAN

]. The future earnings of the Debtor(s) are submitted to the supervision and control of the Trustee and the Debtor(s) shall make payments
to the Trustee C] directly 1 by payroll deductions as hereinafter provided in the PAYMENT PLAN SCHEDULE.
2, The Trustee shall distribute the funds so received as hereinafter provided in the DISBURSEMENT SCHEDULE.

 

PLAN DATED: 9/05/2017
PRE C1 POST-CONFIRMATION

CI AMENDED PLAN DATED:
Filed by: 1) Debtor C] Trustee (J Other

 

 

I, PAYMENT PLAN SCHEDULE

 

 

 

 

 

 

II, DISBURSEMENT SCHEDULE

 

 

 

 

 

 

 

 

 

$ 400.00 x 8=$ 800,00] A, ADEQUATE PROTECTION PAYMENTS OR _____ $
$ 376.00 x §2=$ 19,552.00) B. SECURED CLAIMS:
$ x =$ C1 Debtor represents no secured claims.
$ x =$ Mf Creditors having secured claims will retain their liens and shall be paid as
$ x, =$ follows:
1, Trustee pays secured ARREARS:
TOTAL: $_ .... 20,352.00} Cr.BancoPopulardePtCr, = oC.
# 82200114239650001 #  #. _.
Additional Payments: $ 1,126.78 $ $
$e to be paid as a LUMP SUM 2. Trustee pays IN FULL Secured Claims:
within with proceeds to come from: Cr, Cr. Cr,
# # #
C1 Sale of Property identified as follows: $ $ $
3. Trustee pays VALUE OF COLLATERAL:
Cr. Cr. Cr,
# # #
C Other: $ $e $

 

 

4, Debtor SURRENDERS COLLATERAL to Lien Holder:

 

 

Periodic Payments to be made other than, and in
addition to the above:

$ x =$-

 

PROPOSED BASE: $ 20,362.00

 

1H, ATTORNEY’S FEES
(Treated as § 507 Priorities)

Outstanding balance as per Rule 2016(b) Fee
Disclosure Statement: $_ssss«3,0000.00

 

 

2 ke
Signed: '\ TY

Debtor

Joint Debtor

 

5.1] Other:

 

6, ¥] Debtor otherwise maintains regular payments directly to:
Banco Popular de Pi
C. PRIORITIES: The Trustee shall pay priorities in accordance with the law.
11 U.S.C, § 507 and § 1322(a)(2)
D, UNSECURED CLAIMS: Plan 1 Classifies MI Does not Classify Claims,
1. (a) Class A: £1] Co-debtor Claims /L Other: .
C) Paid 100% /C] Other: __

 

 

Cr. Cr. Cr,
# # _ #
$ $ $

 

2. Unsecured Claims otherwise receive PRO-RATA disbursements,

 

 

OTHER PROVISIONS: (Executory contracts: payment of interest to unsecureds, etc.)
*Tax refunds will be devoted each year, as periodic payments, to the
Plan's funding until Plan completion. The Plan shall be deemed modified
by such amount, without the need of further Court order. The Debtor
shall seek Court's authorization prior any use of funds.

 

 

Attorney for Debtor RFigueroa Carrasquillo Law Office PSC

CHAPTER 13 PAYMENT PLAN

_ Phone: (787) 744-7699
Label Matrix for local noticing
104-3

Case 17-03864-BKT13

District of Puerto Rico

Old San Juan

Sat Sep 2 12:51:28 AST 2017

ACC Absolute Collections
PO Box 880306
San Diego, CA 92168-0306

Bp-Crline
PO Box 2708
San Juan, PR 00936

GECRB/JC Penney
PO Box 965007
Orlando, FL 32896-5007

PRIC AXESA
PO Box 191225
San Juan, PR 00919-1225

Wellington Presinal
Collections Officer
400 Americo Miranda
San Juan, PR 00927-5142

NOREEN WISCOVITCH RENTAS
PMB 136

400 CALAF STREET

SAN JUAN, PR 00918-1314

End of Label Matrix

Mailable recipients 20
Bypassed recipients 0
Total 20

POPULAR AUTO
PO BOX 366818
SAN JUAN, PR 00936-6818

BANCO POPULAR DE PUERTO RICO
BANKRUPTCY DEPARTMENT

PO BOX 366818

SAN JUAN PR 00936-6818

DTOP
PO Box 41269 Minillas Station
San Juan, PR 00940-1269

Midland Funding LLC
2365 Northside Dr # 300
San Diego, CA 92108-2709

Rodriguez Fernandez Law Offices, P.S.C,
PO Box 71418
Gan Juan, PR 00936-8518

JOSE RAMON CARRION MORALES
PO BOX 3023884
SAN JUAN, PR 00902-3884

REYNALDO LOPEZ MORALES
HC 04 BOX 4296
HUMACAQ, PR 00791-8919

VS Bankruptcy Court District of P.R.
Jose Y Toledo Fed Bldg & US Courthouse
300 Recinto Sur Street, Room 109

San Juan, PR 00901-1964

Banco Popular de Puerto Rico
PO Box 362708
San Juan, PR 00936-2708

Fedloan
PO Box 60610
Harrisburg, PA 17106-0610

POPULAR AUTO

BANKRUPTCY DEPARTMENT

PO BOX 366818

SAN JUAN PUERTO RICO 00936-6818

Synchrony Bank/Sams Club
PO Box 965005
Orlando, FL 32896-5005

MONSITA LECAROZ ARRIBAS
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OCHOA BUILDING

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